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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       No. 1:21cr-00026-CRC
                                         :
CHRISTOPHER ALBERTS,                     :
    Defendant.                           :


     CONSENT MOTION TO (1) VACATE TRIAL DATE (JULY 25, 2022),
         (2) VACATE THE MARCH 30, 2022, STATUS HEARING,
  (3) PROPOSED FILING OF A JOINT STATUS REPORT ON MAY 9, 2022.

      COMES NOW attorney Allen H. Orenberg, on behalf of defendant Christopher

Alberts, and respectfully moves this Court to: (1) Vacate the trial date of July 25, 2022,

(2) Vacate the March 30, 2022, Status Hearing. (10:00 a.m.), and (3) proposes to file a

joint status report on or before May 9, 2022.

      As grounds, the following is stated:

      1.       On February 23, 2022, a consent motion was filed to vacate the trial date,

to suspend briefing schedule as to the motion to dismiss, to vacate the March 30, 2022,

status hearing and to file a status report on March 25, 2022. (Doc. 46) On February 24,

2022, the Court granted in part, and denied in part, the consent motion inasmuch as

the Court did not vacate the July 25, 2022, trial date, and it also set new briefing

deadlines for the defendant’s motion to dismiss.

      2.       As the Court was previously informed, Mr. Ferguson was seriously injured

in an accident in Florida on or about February 19, 2022. He is in Memorial Hospital

in Jacksonville, Florida. Attached to this consent motion is a letter (dated 3/7/2022)

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from Shelby Atkinson, MSW. This letter states, in part,

               “Mr. Ferguson us still hospitalized at this time and remains
               in the ICU. Mr. Ferguson’s expected length of stay or
               discharge date is pending his medical course here at the
               hospital and is yet to be determined by his physicians. Post
               hospitalization Mr. Kenneth Ferguson will need follow up
               care at a physical therapy rehabilitation center.”

      On March 8, 2022, undersigned counsel spoke with Ms. Atkinson who confirms

the contents of her letter.

      3.       Counsel has (again) discussed Mr. Ferguson’s status with Mr. Alberts. He

would like for Mr. Ferguson to remain, if possible, as his lead counsel. He insists on

having Mr. Ferguson represent him at the trial of this matter, which is scheduled to

commence on July 25, 2002. Consequently, Mr. Alberts is asking the Court to delay his

trial and he agrees to a tolling of time between now and the next court date, pursuant

to the Speedy Trial Act.

      4.       The Court scheduled a status hearing (VTC) for March 30, 2022, at 10:00

a.m. and, further, instructed the parties to file a joint status report on or before March

25, 2022. The parties request the Court to vacate the March 30, 2022, status hearing

and also proposes to file a joint status report on or before May 9, 2022

      5.       Undersigned counsel has discussed Mr. Ferguson’s situation and the

requests herein with AUSA Jordan A. Koening. The government consents to this

motion.




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      WHEREFORE, for the foregoing reasons and such other reasons which may

appear just and proper, defendant Christopher Alberts respectfully moves this Court

to: (1) Vacate the trial date of July 25, 2022, (2) Vacate the March 30, 2022, Status

Hearing. (10:00 a.m.) and, furthermore, (3) proposes to file a joint status report on or

before May 9, 2022.

                                        Respectfully Submitted,




                                         Allen H. Digitally signed by
                                                  Allen H. Orenberg

                                         Orenberg Date: 2022.03.08
                                                  11:38:34 -05'00'
                                        ____________________________
                                        Allen H. Orenberg, # 395519
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Dated: March 8, 2022




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